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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

HENRY BARROWS,                      )
                                    )
                  Plaintiff,        )     No. 12 C 6063
                                    )
                  v.                )     Honorable Virginia M. Kendall
                                    )     Judge Presiding
SONYA GYIMAH, et al.                )
                                    )
                  Defendants.       )
_____________________________________________________________________________
HENRY BARROWS,                      )
                                    )
                  Plaintiff,        )     No. 13 C 1889
                                    )
                  v.                )     Honorable Virginia M. Kendall
                                    )     Judge Presiding
WENDY OLSON-FOXON, et al.           )
                                    )     Consolidated Under
                  Defendants.       )     No. 12 C 6063

              ANSWER AND AFFIRMATIVE DEFENSE TO PLAINTIFF’S
                       FIRST AMENDED COMPLAINT

       NOW COME the Defendants, Defendant WENDY OLSON-FOXON, EDWARD D.

MATAKIEWICZ, and JOHN COMBS, by and through their attorney LISA MADIGAN,

Attorney General of the State of Illinois, and for their Answer and Affirmative Defense to

Plaintiff’s First Amended Complaint state the following:

                                       JURISDICTION

       69.     This First Amended Complaint (the “Complaint”) is filed pursuant to 42 U.S.C. §
1983, commonly known as the Civil Rights Act, and jurisdiction of the Court is conferred by 28
U.S.C. § 1331.

ANSWER:        Defendants admit the allegations of paragraph 69.




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                                             PARTIES

         70.     Plaintiff Henry Barrows, register No. B 82577, was at all relevant times an inmate
at Stateville Correctional Center (“Stateville”) located in Joliet, Illinois, in the Northern District
of Illinois, and is presently confined in Pontiac Correctional Center, located in Pontiac, Illinois,
in the Northern District of Illinois.

ANSWER:        Defendants admit the allegations of paragraph 70.

        71.   At all relevant times, Defendant Wendy Olson-Foxon (“Ms. Olson-Foxon”) was
employed by the Illinois Department of Corrections (the “IDOC”) as a medical technician at
Stateville.

ANSWER:        Defendants admit the allegations of paragraph 71.

      72.    At all relevant times, Defendant Edward D. Matakiewicz (“Mr. Matakiewicz”)
was employed by the IDOC as an officer at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 72.

       73.    At all relevant times, Defendant John Combs (“Mr. Combs”) was employed by
the IDOC as an officer at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 73.

       74.     All defendants are sued in their individual capacities.

ANSWER:        Defendants admit the allegations of paragraph 74.


                             FACTS COMMON TO ALL CLAIMS

      75.     On or about August 16, 2011, Ms. Olson-Foxon was employed by the IDOC and
working in her capacity as a medical technician at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 75.

      76.      On or about August 16, 2011, Mr. Matakiewicz was employed by the IDOC and
working in his capacity as an officer at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 76.

      77.      On or about August 16, 2011, Mr. Combs was employed by the IDOC and
working in his capacity as an officer at Stateville.



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ANSWER:        Defendants admit the allegations of paragraph 77.

        78.    Upon information and belief, Mr. Barrows had been involved in physical and
verbal confrontations with one or more of the Defendants prior to August 16, 2011.

ANSWER: Defendants are without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 78.

       79.     At all relevant times, Mr. Barrows was diagnosed as having schizoaffective
disorder and bipolar disorder, and was prescribed multiple medications, including Depakote
E.C., Risperdal, Trazadone, and Klonopin, for his conditions by members of the Stateville
medical staff. Schizoaffective disorder and bipolar disorder result in higher incidence of suicide
among those with these disorders as compared to the public at large.

ANSWER: Defendants are without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 79.

         80.    Prior to the events at issue in this Complaint, Mr. Barrows had threatened suicide
multiple times. Among other things, Mr. Barrows had a history of inflicting serious, potentially
life threatening, harm on himself. Upon information and belief, Mr. Barrows had spent a large
portion of 2011, on crisis watch, including days immediately prior to August 16, 2011.

ANSWER: Defendants are without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 80.

        81.     Upon information and belief, the Defendants were aware of Mr. Barrows’ mental
illness and his history of both verbal and physical confrontations with guards and others at
Stateville and of inflicting serious, potentially life threatening, harm on himself.

ANSWER:        Defendants deny the allegations of paragraph 81.

       82.     On or about August 16, 2011, Mr. Barrows requested that Mr. Matakiewicz and,
Mr. Combs arrange for Mr. Barrows to be seen by a crisis team member or other mental health
professional because he told them that he was concerned that he would harm himself.

ANSWER:        Defendants deny the allegations of paragraph 82.

       83.      On or about August 16, 2011, after Mr. Matakiewicz and Mr. Combs failed to
arrange for a crisis team or other mental health professional to attend to Mr. Barrows, Mr.
Barrows set fire to his ankle.

ANSWER:        Defendants deny the allegations of paragraph 83.

      84.    On or about August 16, 2011, after Mr. Barrows set fire to his ankle, Mr.
Matakiewicz and Mr. Combs entered Mr. Barrows’ cell and saw the burn on Mr. Barrows’ ankle.


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ANSWER:        Defendants deny the allegations of paragraph 84.

       85.     On or about August 16, 2011, although Mr. Matakiewicz and Mr. Combs had
seen that Mr. Barrows required medical attention, they failed to arrange for prompt medical care
for Mr. Barrows.

ANSWER:        Defendants deny the allegations of paragraph 85.

        86.    On or about August 16, 2011 Mr. Barrows repeatedly asked for medical attention
but did not receive any medical attention. He was left in his cell all night without being seen by
a medical doctor, crisis team member, or mental health staff member, despite having burns on his
ankle.

ANSWER: Defendants are without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 86.

        87.    Finally, on or about August 17, 2011, Mr. Barrows was seen by Ms. Olson-Foxon
who asked Mr. Barrows what had happened. However, after she was told that Mr. Barrows lit
himself on fire, Ms. Olson-Foxon told Mr. Barrows that he did not need medical attention if he
was going to be hurting himself. Mr. Barrows also asked Ms. Olson-Foxon what had happened
to Mr. Barrows’ prior sick slips since he had not been provided with medical attention, Ms.
Olson-Foxon explained that she had thrown those sick call slips away, preventing him from
receiving medical attention.

ANSWER:        Defendants deny the allegations of paragraph 87.

       88.    On or about August 17, 2011, despite seeing that Mr. Barrows was burned, Ms.
Olson-Foxon left Mr. Barrows in his cell and failed to provide any medical attention to Mr.
Barrows and failed to arrange for prompt medical and mental health attention to him.

ANSWER:        Defendants deny the allegations of paragraph 88.

       89.   On or about August 17, 2011, Mr. Barrows was in pain caused by his burnt ankle,
which had now developed a blister and was exuding puss.

ANSWER: Defendants are without knowledge or information sufficient to form a belief as to
the truth of the allegations contained in paragraph 89.

       90.     On or about August 18, 2011, Mr. Barrows was finally taken to the health care
unit where he received medical attention for his burned ankle.

ANSWER:        Defendants admit that medical care was rendered to Plaintiff on August 17, 2011.

       91.    On information and belief, Mr. Barrows filed a grievance with the IDOC
concerning the above-mentioned events.


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ANSWER:        Defendants admit the allegations of paragraph 91.

      92.    Mr. Barrows has exhausted his administrative means for seeking redress for the
above-mentioned deprivation of his civil rights.

ANSWER:        Defendants admit the allegations of paragraph 92.


                                     COUNT V
                          CRUEL AND UNUSUAL PUNISHMENT
                             DEFENDANT OLSON-FOXON

       93.     Mr. Barrows re-alleges paragraphs 69-92 as if fully set forth herein.

ANSWER:        Defendants reassert and adopt herein their answers to paragraphs 69-92.

       94.     At all relevant times, Ms. Olson-Foxon was employed by IDOC and acting in her
capacity as a medical technician at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 94.

        95.     At all relevant times, Ms. Olson-Foxon had a duty to perform the tasks mandated
of a person in her position, including providing appropriate medical care, as proscribed by the
Eighth Amendment to the United States Constitution.

ANSWER:        Defendants admit the allegations of paragraph 95.

        96.     At all relevant times, Ms. Olson-Foxon had a duty to perform the tasks mandated
of a person in her position, including notifying medical staff when an inmate is in need of
medical care and notifying a crisis team member and/or psychological doctor in the event an
inmate injures, or threatens to injure, himself in a manner which suggests suicidal intention, as
proscribed by the Eighth Amendment to the United States Constitution.

ANSWER: Defendants admit any and all duties imposed upon them by law, but deny that
paragraph 96 of Plaintiff’s First Amended Complaint correctly alleges those duties.

       97.     At all relevant times, on information and belief, Ms. Olson-Foxon was reasonably
aware of her above-mentioned duties.

ANSWER:        Defendants admit the allegations of paragraph 97.

        98.     Ms. Olson-Foxon deliberately and unreasonably refused to perform her duties as
fully described herein, including, but not limited to, deliberately refusing to provide medical
attention, refusing alert crisis team members, and deliberately refusing to alert medical staff
despite Mr. Barrows’ medical condition and despite his requests to be seen by a psychological


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doctor and/or medical staff member, and his repeated oral declarations he was experiencing self-
injurious urges.

ANSWER:        Defendants deny the allegations of paragraph 98.

       99.    Ms. Olson-Foxon’s deliberate and unreasonable refusal to perform her duties
leaving Mr. Barrows to suffer in his cell as described herein constitutes deliberate indifference to
Mr. Barrows’ health and safety, the imminent risk he would further harm himself in a suicidal
manner, and constitutional right to be free from cruel and unusual punishment under the Eighth
Amendment to the United States Constitution.

ANSWER: Defendants make no answer to the allegations of paragraph 99 as they state legal
conclusions. To the extent that the allegations of paragraph 99 do not state legal conclusions,
they are denied.

       100. As a direct and proximate result of Ms. Olson-Foxon’s misconduct, Mr. Barrows
suffered deprivation of his constitutional rights.

ANSWER:        Defendants deny the allegations of paragraph 100.


                                      COUNT VI
                           CRUEL AND UNUSUAL PUNISHMENT
                              DEFENDANT MATAKIEWICZ

       101.    Mr. Barrows re-alleges paragraphs 69-92 as if fully set forth herein.

ANSWER:        Defendants reassert and adopt herein their answers to paragraphs 69-92.

       102. At all relevant times, Mr. Matakiewicz was employed by IDOC and acting in his
capacity as an officer at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 102.

        103. At all relevant times, Mr. Matakiewicz had a duty to perform the tasks mandated
of a person in his position, including notifying a crisis team member and/or psychological doctor
in the event an inmate injures, or threatens to injure, himself in a manner which suggests suicidal
intention, as proscribed by the Eighth Amendment to the United States Constitution.

ANSWER: Defendants admit any and all duties imposed upon them by law, but deny that
paragraph 103 of Plaintiff’s First Amended Complaint correctly alleges those duties.

        104. At all relevant times, Mr. Matakiewicz had a duty to perform the tasks mandated
of a person in his position, including notifying medical staff when an inmate is in need of
medical care, as proscribed by the Eighth Amendment to the United States Constitution.


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ANSWER:        Defendants admit the allegations of paragraph 104.

      105. At all relevant times, Mr. Matakiewicz was reasonably aware of his above-
mentioned duties.

ANSWER:        Defendants admit the allegations of paragraph 105.

        106. Mr. Matakiewicz deliberately and unreasonably refused to perform his duties as
fully described herein, including, but not limited to, deliberately refusing to alert crisis team
members and deliberately refusing to alert medical staff despite Mr. Barrows’ repeated requests
to be seen by a psychological doctor and/or medical staff member, and his repeated oral
declarations he was experiencing suicidal, self-injurious, and depressed thoughts.

ANSWER:        Defendants deny the allegations of paragraph 106.

        107. Mr. Matakiewicz’ deliberate and unreasonable refusal to perform his duties
directly resulted in Mr. Barrows committing the self-injurious acts fully described herein and
constitutes deliberate indifference to Mr. Barrows’ health and safety, the imminent risk he would
harm himself in a suicidal manner, and his constitutional right to be free from cruel and unusual
punishment under the Eighth Amendment to the United States Constitution.

ANSWER: Defendants make no answer to the allegations of paragraph 107 as they state legal
conclusions. To the extent that the allegations of paragraph 107 do not state legal conclusions,
they are denied.

       108. As a direct and proximate result of Mr. Matakiewicz’ misconduct, Mr. Barrows
suffered deprivation of his constitutional rights.

ANSWER:        Defendants deny the allegations of paragraph 108.


                                    COUNT VII
                          CRUEL AND UNUSUAL PUNISHMENT
                                DEFENDANT COMBS

       109.    Mr. Barrows re-alleges paragraphs 69-92 as if fully set forth herein.

ANSWER:        Defendants reassert and adopt herein their answers to paragraphs 69-92.

       110. At all relevant times, Mr. Combs was employed by IDOC and acting in his
capacity as an officer at Stateville.

ANSWER:        Defendants admit the allegations of paragraph 110.

       111.    At all relevant times, Mr. Combs had a duty to perform the tasks mandated of a


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person in his position, including notifying a crisis team member and/or psychological doctor in
the event an inmate injures, or threatens to injure, himself in a manner which suggests suicidal
intention, as proscribed by the Eighth Amendment to the United States Constitution.

ANSWER: Defendants admit any and all duties imposed upon them by law, but deny that
paragraph 111 of Plaintiff’s First Amended Complaint correctly alleges those duties.

        112. At all relevant times, Mr. Combs had a duty to perform the tasks mandated of a
person in his position, including notifying medical staff when an inmate is in need of medical
care, as proscribed by the Eighth Amendment to the United States Constitution.

ANSWER:          Defendants admit the allegations of paragraph 112.

          113.   At all relevant times, Mr. Combs was reasonably aware of his above-mentioned
duties.

ANSWER:          Defendants admit the allegations of paragraph 113.

       114. Mr. Combs deliberately and unreasonably refused to perform his duties as fully
described herein, including, but not limited to, deliberately refusing to alert crisis team members
and deliberately refusing to alert medical staff despite Mr. Barrows’ repeated requests to be seen
by a psychological doctor and/or medical staff member, and his repeated oral declarations he was
experiencing suicidal, self-injurious, and depressed thoughts.

ANSWER:          Defendants deny the allegations of paragraph 114.

        115. Mr. Combs’ deliberate and unreasonable refusal to perform his duties directly
resulted in Mr. Barrows committing the self-injurious acts fully described herein and constitutes
deliberate indifference to Mr. Barrows’ health and safety, the imminent risk he would harm
himself in a suicidal manner, and his constitutional right to be free from cruel and unusual
punishment under the Eighth Amendment to the United States Constitution.

ANSWER: Defendants make no answer to the allegations of paragraph 115 as they state legal
conclusions. To the extent that the allegations of paragraph 115 do not state legal conclusions,
they are denied.

       116. As a direct and proximate result of Mr. Combs’ misconduct, Mr. Barrows
suffered deprivation of his constitutional rights.

ANSWER:          Defendants deny the allegations of paragraph 116.




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       WHEREFORE, Defendants deny that Plaintiff is entitled to judgment in any amount or

sum whatsoever, and prays this matter be dismissed with prejudice and with costs assessed in

favor of the Defendants.


                                           GENERAL DENIAL

       Defendants deny each and every allegation not specifically admitted herein.

                                       AFFIRMATIVE DEFENSE

       At all times relevant herein, Defendants acted in good faith and in furtherance of lawful

objectives without violating Plaintiff’s clearly established statutory or constitutional rights of

which a reasonable person would have known. Defendants are therefore protected from suit by

the doctrine of qualified immunity.

                                             JURY DEMAND

       Defendants demand a trial by jury on all issues herein triable.


                                                       Respectfully submitted,

LISA MADIGAN
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